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                         Exhibit B
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From: Linder, Carla E On Behalf Of aopeapfagrantspolicy@state.gov
Sent: Saturday, February 15, 2025 12:28 AM
To: A/OPE/FA Grants Policy <aopefagrantspolicy@state.gov>
Subject: Special notice to Foreign Assistance Recipients




On February 13, 2025, the Court hearing the case of AIDS Vaccine Coalition v. U.S. Department of
State and Global Health Council v. Trump entered a temporary restraining order against the
Department of State, USAID, and OMB, that contains the following operative language:



“Consistent with the reasoning above, it is hereby ORDERED that Defendants Marco Rubio, Peter
Marocco, Russell Vought, the U.S. Department of State, the U.S. Agency for International
Development, and the Office of Management and Budget (the “Restrained Defendants”) and their
agents are temporarily enjoined from enforcing or giving effect to Sections 1, 5, 7, 8, and 9 of Dep’t
of State, Memorandum, 25 STATE 6828 (Jan. 24, 2025) and any other directives that implement
Sections 3(a) and 3(c) of Executive Order Number 14169, “Reevaluating and Realigning United
States Foreign Aid” (Jan. 20, 2025), including by:

•     suspending, pausing, or otherwise preventing the obligation or disbursement of appropriated
foreign-assistance funds in connection with any contracts, grants, cooperative agreements, loans,
or other federal foreign assistance award that was in existence as of January 19, 2025; or

•    issuing, implementing, enforcing, or otherwise giving effect to terminations, suspensions, or
stop-work orders in connection with any contracts, grants, cooperative agreements, loans, or other
federal foreign assistance award that was in existence as of January 19, 2025.



“It is further hereby ORDERED that nothing in this order shall prohibit the Restrained Defendants
from enforcing the terms of contracts or grants.



“It is further hereby ORDERED that the Restrained Defendants shall take all steps necessary to
effectuate this order and shall provide written notice of this order to all recipients of existing
contracts, grants, and cooperative agreements for foreign assistance.



“It is further hereby ORDERED that the Restrained Defendants shall file a status report by February
18, 2025, apprising the Court of the status of their compliance with this order, including by
providing a copy of the written notice described above.”



We will provide further guidance on this TRO as soon as we are able to do so.
